                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA


BRITTANY KUBBA, individually and                  )
on behalf of all others similarly situated,       )
                                                  )
                                                  )
       Plaintiff,                                 )
                                                  )
v.                                                )           No. 1:25-cv-118-CLC-MJD
                                                  )
LEE UNIVERSITY,                                   )
                                                  )
                                                  )
       Defendant.                                 )

                            ORDER TO SHOW CAUSE ISSUED TO
                                 LEIGH MONTGOMERY

       Attorney Leigh Montgomery (“Montgomery”), along with Attorneys Grayson Wells and

J. Gerard Stranch, IV, is listed as counsel of record for Plaintiff Brittany Kubba [Doc. 1 at Page

ID # 43], but Montgomery is not admitted to practice in this Court. Despite the Clerk’s efforts to

obtain compliance with E.D. Tenn. L.R. 83.5(b)(1) governing pro hac vice admission,

Montgomery has neither moved to be admitted nor moved to withdraw. 1

       Accordingly, it is ORDERED that Montgomery SHALL SHOW CAUSE in writing on

or before June 26, 2025, why she should not be held in contempt or otherwise sanctioned for her

actions, or lack thereof, concerning admission. If a proper notice/motion to withdraw or a motion

for admittance (including proper registration for the Court’s electronic case filing pursuant to Rule




1
   The Clerk’s office notified Montgomery that she was not in compliance with E.D. Tenn. L.R.
83.5(b)(1) on April 8, 2025 [Doc. 4]. The Notice of Deficiency instructed Montgomery to submit
a motion for admission pro hac vice or the matter would be referred to a magistrate judge.
Attorneys are encouraged to avoid court intervention on such matters.


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5 of the Court’s Electronic Case Filing Rules and Procedures), is filed by Montgomery prior to

June 26, 2025, this show cause order shall be deemed satisfied.

       SO ORDERED.

       ENTER:




                                            s/
                                            MIKE DUMITRU
                                            UNITED STATES MAGISTRATE JUDGE




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